     Case 1:07-cv-00287-SJM Document 15 Filed 07/07/08 Page 1 of 4




                      THE    ITED STATES DISTRICT COURT
                 FOR THE WESTERJ"J DISTRCT OF PE  SYLVA lA


WARNER BROS. RECORDS. C.. a              )
Delaware corporation; VIRGI RECORDS)
AMERICA, INC., a California corporation; )
CAPITOL RECORDS, LLC, a Delaware         )
Limited Liability Company; UMG           )           Civil Action No.: I:07:cv-00287-SJM
RECORDINGS. I C.. a Delaware             )
Corporation: and SONY BMG MUSIC          )
ENTERTAl ME T. a Delaware general        )
partnership.                             )
                                         )
                      Plaintiffs,        )
                                         )
vs.                                      )
                                              )
Jeremy Walker                                 )
                        Defendant.            )
                                              )

              ANSWER PRESENTING DEFENSES U DER RULE 12 (B)

             D NOW comes the Defendant. Jeremy Walker, by and through his attorney.

Michael E. Hughes. files the following Al SWER PRESE TING DEFENSES UNDER

R LE 12(b):

        I.    Admitted.

        2.    Admitted.

        3.     Defendant denies that he committed any acts of infringement within this pr

any other District. The remaining allegations of this paragraph are admitted.

        4.     Defendant lacks knowledge or information sufficient to form a belief about

the truth of this allegation.

        5.     Defendant lacks knowledge or information sufficient to form a belief about

the truth of this allegation.
     Case 1:07-cv-00287-SJM Document 15 Filed 07/07/08 Page 2 of 4




        6.    Defendant lacks knowledge or information sufficient to form a belief about

the truth of this allegation.

        7.    Defendant lacks knowledge or information sufficient to form a belief abo t

the truth of this allegation.

        8.    Defendant lacks knowledge or information sufficient to form a bel ief abo~t

the truth of this allegation.

        9.    Defendant lacks knowledge or infomlation sufficient to form a belief abo t

the truth of this allegation.

        10.   Paragraph lOis an incorporation paragraph. no response is required.

        II.   Defendant lacks knowledge or information sufficient to form a belief about

the truth of this allegation.

        12.   The allegation of this paragraph constitutes a conclusion of law to which no

response is required.

        13.   Defendant lacks knowledge or information sufficient to form a belief about

the truth of this allegation.

        14.   Defendant lacks knowledge or information sufficient to form a belief about

the truth of this allegation.

        15.   The allegations of this paragraph are denied, strict proof of same is

demanded at trial.

        16.   The allegations of this paragraph are denied. strict proof of same is

demanded at trial.

        17.   To the extent that this paragraph alleges published copies of the sound

recordings identified in Exhibit A were accessible to the defendant, the allegation is




                                              2
     Case 1:07-cv-00287-SJM Document 15 Filed 07/07/08 Page 3 of 4



denied and strict proof of same is demanded at trial; Defendant lacks knowledge or

information sufficient to form a belief about the truth of this remainder of this allegation.

        18.   The allegations of this paragraph are denied, strict proof of same is

demanded at trial.

        19.   This allegation constitutes a conclusion of law to which no responsive

pleading is required; to the extent the coun deems any response necessary, the allegations

of this paragraph are denied.

        20.   To the extent this paragraph alleges Defendant's conduct is causing

Plaintiff harm. the allegation is denied and strict proof of same is demanded a trial: the

remaining ponion of this allegation constitutes a conclusion oftaw to which no

responsive pleading is required, to the extent the coun deems any response necessary. the

remaining allegations of this paragraph are denied.

                                FAIL RE TO STATE A CLAIM

        21.   The Complaint fails to state a claim upon which relief can be granted.



        WHEREFORE, Defendant respectfully requests that this honorable coun dismiss

the Amended Complaint with prejudice.

                                               Respectfully submitted.



         .., blot                                   (V""~_._•             IJ.....•~_
Dated: - - - - - - -
                                               Michael E. Hughes,
                                               Attorney for Defendant, Jeremy Walker
                                               THE LAW OFFICE OF MICHAEL E. H1GIIES, LLC
                                               100 Fifth Avenue
                                               Suite 516
                                               Pinsburgh, PA 15222
                                               Tel:     (~12) 281-9104
                                               Fax:     (866) 462-2082



                                              3
     Case 1:07-cv-00287-SJM Document 15 Filed 07/07/08 Page 4 of 4




                             CERTIFICATE OF SERVICE
                                           tk
       I hereby certify that on this   7        day of July, 2008. a true and correct copy 0

the within ANSWER PRESENTING DEFE SES UNDER RULE 12(B) was served

by electronic filing and/or first class mail. postage prepaid, to and upon the following:



                               Geoffrey L. Beauchamp. Esq.
                               Geoffrey L. Beauchamp, P.C.
                                     10 15 York Road
                                Willow Grove, PA 19090




                                                      (v""""-----",.
                                                                     fL.. . .               __
                                                 Michael E. Hughes,
                                                 Attorney for Defendant, Jeremy Walker
                                                 THE LAW OFFICE OF MICHAEL E. HllGHES, LLC
                                                 100 Fifth Avenue
                                                 Suite 5t6
                                                 Pittsburgh, PA 15222
                                                 Tel:     (412) 281·9104
                                                 Fax:     (866) 462·2082




                                                 4
